Case 2:05-cr-20034-.]PI\/| Document 14 Filed 04/25/05 Page 1 of 3 Page|D 21

 

IN THE U'NITED STA'I'ES DISTRICT COURT bn
FoR THE wESTERN DISTRICT OF TENNESSEE 35
WESTERN DIVISION " `ii`:)
‘F;l:§i;*¢§i§" f ij‘:\ 54
W.D. C§f: 'F" 535
UNITED STATES OF' AMERICA

Plaintiff,

Criminal No. 03{-£@9§';{: Ml

(30-Day Continuance)

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`_/\_/`_/v`_/`_/`_JVV`_¢`_,VV~_/WVVVV~_,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the May, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Fridav, MaV 27, 2005, With trial to take place on the June,
2005 rotation calendar with the time excluded under the Speedy
Trial Act through June 17, 2005. Agreed in open court at report

date this 22nd day of April, 2005.

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Th!s document entered on ina dockets ee£l compliance
with me 55 and/or 32(@) s1ch on fe » fZ- 05"

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Case 2:05-cr-20034-.]PI\/| Document 14 Filed 04/25/05 Page 2 of 3 Page|D 22

so oRDERED this 22md day of April, 2005.

de /\MQQb

 

P IPPS MCCALLA
ITE STATES DISTRICT JUDGE

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Assistant United States Attorney

 

 

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54/1/114£1, L fZ~»<:</M

Counsel for Defendant(s )

UNITED S`…ATEISTIC COUR - WETERN D's'TRCT OFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20034 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

